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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PF. , 24-CV-02333 (PMH)
Petitioner, NOTICE OF MOTION

— against —

Respondent,

ORDERED, that the above named defendant show cause before a motion term

of this Court, at Room United States Courthouse, 300 Quarropas Street, White Plains,

—?

New York 10601, on , at o'clock in the noon thereof, or as

soon thereafter as counsel may be heard, why an order of default should not be issued pursuant
to Rule 55 of the Federal Rules of Civil Procedure Ordering:
1. That pursuant to the Federal Rules of Civil Procedure, granting Petitioner 60 days
extension to serve the Respondent the default papers.

2. For such other and further relief as the Court may find just and proper.

Application granted. Although the Court previously stated that
no further extensions would be granted (Doc. 42), in light of
the Petitioner's representations concerning her difficulty
locating Respondent, the Court finds that good cause exists to Wianachim Uta
extend the time for Plaintiff to effectuate service of the motion
for a default judgment. Because all of the deadlines in the Menachem White, Esq.

order to show cause have now since passed, the Court has The White Law Group
docketed a "Revised Order to Show Cause" (Doc. 50) which Attomey for Defendant
provides for service of the Revised Order to Show Cause and 4 Brower Avenue, Suite 3
papers upon which it is based to be effectuated by March 11, Woodmere, New York 11598
2025. Petitioner shall serve the Revised Order to Show
Cause in accordance with its terms and no further
extensions will be granted.

So wn /

Philip M. Halpern
United States District Judge

Dated: White Plains, New York
January 10, 2025

